                                                                           Change of plea hearing set
                                                                           for 5/19/2017 at 10:30 a.m.


                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA               )
                                       )
                                       )
v.                                     )                       No. 3:15-cr-00070-8
                                       )
                                       )                       JUDGE TRAUGER
                                       )
JORGE FLORES                           )

                 NOTICE OF INTENT TO ENTER A PLEA OF GUILTY

     Comes now Jorge Flores, by and through counsel, John Bailey, and hereby notifies

the Court that he intends to enter a plea of guilty in this matter. Undersigned counsel

and Assistant United States Attorney, Thomas J. Jaworski, jointly request that this Court

set a plea hearing for either this week (Wednesday, May 10th through Friday, May

12th) or next week (Wednesday, May 17th through Friday, May 19th), if that suits the

Court’s calendar.

     In further support of his motion, counsel submits:

     1. Undersigned counsel for Mr. Flores and Assistant United States Attorney,

Thomas J. Jaworski, have communicated today and agreed to a plea agreement that

will resolve Mr. Flores’ case without the need for a trial.

     2. Undersigned counsel and Mr. Jaworski likewise jointly request this Court to set

Mr. Flores’ plea hearing for Wednesday, May 10th through Friday, May 12th or

Wednesday, May 17th through Friday, May 19th, if either of those dates fits with the

Court’s calendar, because undersigned counsel has a previously scheduled trip out of




 Case 3:15-cr-00070      Document 389       Filed 05/09/17    Page 1 of 1 PageID #: 1618
